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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 CRISTINA CARRILLO

                        Plaintiff,
                                                             Civ. Action No.
            - vs –

 MICOL SABBADINI, ZV NY, INC., ZV France,                    COPYRIGHT INFRINGEMENT
 S.A.S., and JOHN DOES 1-10

                        Defendants.


                                          COMPLAINT

       Plaintiff Cristina Carrillo (“Carrillo” or “Plaintiff”), by and through undersigned counsel,

as and for her complaint against Defendants Micol Sabbadini (“Sabbadini”), ZV NY, Inc., a/k/a

“Zadig & Voltaire” (“ZV NY”) and “ZV France, S.A.S.” (“ZV France”) (together, the “ZV

Defendants”) and John Does 1-10 (“Doe Defendants”) (collectively the “Defendants”), on

knowledge as to Plaintiff and otherwise on information and belief formed after a reasonable

inquiry pursuant to Rule 11 of the Federal Rules of Civil Procedure, respectfully alleges as follows:

                                     NATURE OF THE ACTION

   1. Plaintiff Carrillo brings this civil action under the United States of America (“USA”)

       Copyright Act.

   2. Plaintiff seeks injunctive and monetary relief under the Copyright Act, 17 U.S.C. §§ 101

       et seq., arising out of the Defendants’ unauthorized reproduction, distribution, public

       display, and other unauthorized use of Plaintiff’s copyrighted work “Love Will Rise Above

       All” (the “Work”).
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3. Defendants’ unlawful actions have caused, and will continue to cause, irreparable harm to

   Plaintiff unless enjoined by this Court.

                                     THE PARTIES

4. Plaintiff Carrillo is a resident of the state of New York.

5. Defendant Sabbadini is a professional photographer who resides in Milan, Italy and New

   York City, New York.

6. Defendant ZV NY is a corporation organized and existing under the laws of the state of

   New York, with a principal place of business located at 453 Broome Street, New York,

   NY 10013.

7. In 2023, Defendant ZV NY signed a 10 year, 12,000+ square feet, commercial lease for a

   flagship store space at the Dumont Building, located at 515 Madison Avenue, New York,

   NY 10022.

8. Defendant ZV NY’s current, and future, headquarters are in the city of New York, New

   York.

9. Defendant ZV France is a corporation organized and existing under the laws of France.

10. ZV France’s headquarters are located at 11 Avenue d’lena, 75116 Paris, Ile de France.

11. The ZV Defendants offer “rock inspired” apparel for men and women at a luxury price

   point.

12. Defendant John Doe(s) 1-10 are persons or entities whose true identities are currently

   unknown to Plaintiff, and who have purchased the goods at issue in this action from the

   ZV Defendants, and distributed, displayed, offered for sale and sold such goods to

   consumers, both in brick-and-mortar stores and/or online, and have therefore reproduced,

   publicly displayed and/or distributed the copyrighted Work. Plaintiff Carrillo will amend
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   the pleadings as necessary to add these specific individuals or entities as parties to this

   action once they have been identified in the course of discovery.

                             JURISDICTION AND VENUE

13. This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C. § 1331

   and § 1338 because it involves federal questions arising under the Copyright Act, as

   amended, 17 U.S.C. §§ 101 et seq.

14. This Court’s exercise of jurisdiction over this action is proper because it is a civil action

   seeking damages for copyright infringement under the copyright laws of the United States

   under 17 U.S.C. §§ 1700 et seq.

15. Defendant Sabbadini was in this district when she engaged in the unlawful acts that

   violated Plaintiff’s Copyright in the Work.

16. Defendant Sabbadini regularly and systematically conducts business in this district and

   maintains part-time residency in the state of New York and describes herself as “[w]orks

   and lives between Milan and New York.” A true and correct copy of Defendant Sabbadini’s

   “About Me” page found on her website, https://micolsabbadini.com/about/ (last

   accessed June 19, 2023), is attached hereto as Exhibit 1.

17. Defendant ZV France is a retailer of luxury apparel and accessories. ZV France has over

   350 brick-and-mortar retail stores worldwide, of which 60 brick-and-mortar stores are in

   the USA, and no less than 10 stores are located in the state of New York. A true and correct

   copy of Defendant ZV France’s “Store Locator” page from the U.S. Website found at

   https://us.zadig-et-voltaire.com/store-locator (last accessed June 28, 2023), is attached

   hereto as Exhibit 2.
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18. According to the Privacy Policy on its website, Defendant ZV France owns, operates,

   controls, maintains and is solely responsible for the content of all the Zadig & Voltaire

   websites, including the retailer’s U.S. website, with a web address of https://us.zadig-et-

   voltaire.com/. A true and correct copy of the ZV France “Privacy Policy” found at

   https://us.zadig-et-voltaire.com/privacy-policy (last accessed June 29, 2023), is attached

   hereto as Exhibit 3.

19. Upon information and belief, ZV NY is a wholly owned subsidiary of ZV France.

20. This Court’s exercise of personal jurisdiction over the ZV Defendants would not offend

   traditional notions of fair play and substantial justice because they regularly transact

   business within the district, have committed tortious acts in this district, derive substantial

   revenue from or engage in a persistent course of conduct in this district, have committed

   tortious acts outside this district causing injury in this district, and have otherwise

   established sufficient contacts within this state making the exercise of personal jurisdiction

   proper.

21. This Court has personal jurisdiction over all Defendants, and venue in this District is proper

   because Defendants or their agents reside or may be found in this district, Defendants

   transact business in this district, Defendants infringed on Plaintiff’s copyright in this

   district and have supplied the infringing goods in this district, the events giving rise to

   Plaintiff’s infringement claim occurred in this district, and the Defendants have caused and

   continue to cause damages to Plaintiff Carrillo who is a resident of and is located in this

   District.

22. This Court has personal jurisdiction over all Defendants and venue properly lies in this

   district pursuant to 28 U.S.C. § 1400(a).
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                                 STATEMENT OF FACTS

             Plaintiff’s Copyright in the “Love Will Rise Above All” Work

23. Plaintiff Carrillo is a painter, crafter, illustrator, collagist, professional singer, and actor

    who resides in New York City, New York.

24. Plaintiff passionately supports various social and political causes by volunteering,

    marching, and creating art in various mediums which focuses on a message of harmony

    and love as a guiding light towards a better future.

25. Plaintiff’s artwork is identifiable for her use of colorfully exaggerated letters that present

    to the viewer as a base form of voluminous curves that stand in contrast to delicate and

    linear botanical figures as adornments.

26. Plaintiff began developing her unique and original painting style - the contrast of balloon-

    like letters to lineal florals – in 2013.

27. On January 21, 2017, Plaintiff participated in the New York City Women’s March (the

    “Women’s March”) which was organized as a form of collective action in support of

    women, people of color, immigrants, and the LGBTQ+ community.

28. The morning of the Women’s March, Plaintiff used a paint brush to affix onto a white

    board her signature rounded balloon-like letters stating in colorful bold letters: “Love Will

    Rise Above All.” A copy of a photograph taken with Plaintiff’s cellphone camera at

    Plaintiff’s request at the Women’s March is included below, and attached hereto as Exhibit

    4.
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29. Plaintiff created the Work by painting, with a paint brush, and acrylic paints each letter

   individually, and then adding a single-stem rose framed within the letter “O” within the

   word “love.” See Exhibit 4.

30. Plaintiff selected various acrylic paints in primary colors from her existing art supplies and

   mixed them to create the specific shade of red for the word “love” and “rise,” and a

   shimmery lilac for the word “will” and the words “above all” in the Work. See Exhibit 4.

31. The bold, playful, and handcrafted look and feel of the letters and flower in Plaintiff’s

   Work are unique and original.

32. After completing the letters in the Work, Plaintiff mixed a light shade of grass-green for

   the rose stem and used the previously mixed red for the rose petals. A true and correct

   close-up of the rose depicted in Plaintiff’s Work (included in Exhibit 4) is below, and

   attached hereto as Exhibit 5.
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33. The single stem rose inside the letter “O” in the Work’s “Love” is a unique and original

   creation by Plaintiff. See Exhibit 4

34. Plaintiff carried the “Love Will Rise Above All” Work with her as she walked from lower

   Manhattan up 5th Avenue alongside the other Women’s March participants.

35. Between 2017 and 2020, Plaintiff referenced her “Love Will Rise Above All” Work in other

   painted pieces and mixed-media collages.

36. Plaintiff also included the Work in her professional acting, such as when she hung the Work

   in the bedroom set of a character she was playing. A true and correct copy of an October

   20, 2017, picture of Plaintiff and the Work is below, and attached hereto as Exhibit 6.
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                         Defendant Sabbadini’s Infringement

37. Defendant Micol Sabbadini, an Italian luxury fashion photographer, also attended the New

   York City Women’s March on January 21, 2017, on assignment from W Magazine. A true

   and correct copy of the text from a January 24, 2017, article featuring Defendant

   Sabbadini’s work for W Magazine found at https://www.wmagazine.com/gallery/womens-

   march-in-new-york-polaroid-photographs (last accessed July 1, 2023) is attached hereto as

   Exhibit 7.

38. Defendant Sabbadini’s work has been featured in international fashion magazines such as

   Vogue, Elle, and Marie Claire, and she has partnered on numerous occasions with luxury

   fashion brands such as Louis Vuitton, Max Mara, Armani, and Tod’s, among others. A true

   and correct copy of the “Press” page from Defendant Sabbadini’s website found at

   https://micolsabbadini.com/press/ (last accessed July 1, 2023) is attached hereto as Exhibit

   8. See also Exhibit 1.

39. Defendant Sabbadini photographed the participants at the Women’s March with a polaroid

   camera. See Exhibit 7.

40. In June of 2018, Defendant Sabbadini exhibited Polaroid pictures purportedly taken at the

   Women’s March at the Milan Triennale (the “Triennale Museum”), an art and design

   museum located in Milan, Italy. See Exhibit 1.

41. Defendant Sabbadini’s Triennale Museum exhibit was titled “May your choices reflect

   your hopes and not your fears.” See Exhibit 1.

42. Defendant Sabbadini’s Triennale Museum exhibit included a Polaroid picture of an

   unidentified Women’s March participant holding a poster that reads “Strong Women. May

   we know them, raise them, be them” - a quote attributed to 19th Century mathematician
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   Countess Ada Lovelace (the “Participant Photograph”). A true and correct copy of the

   Participant Picture from a Vogue Italia article dated June 5, 2018 found at

   https://www.vogue.it/news/vogue-arte/2018/06/05/micol-sabbadini-approda-triennale-le-

   sue-polaroid (last accessed on July 1, 2023) is included below, and is attached hereto as

   Exhibit 9.




             The “Zadig & Voltaire X Micol Sabbadini” Collaboration

43. In mid- 2017 Defendant Sabbadini “wanted a brand which was not afraid to speak about

   the issues and that would fit the mood of the Women’s March, and Zadig & Voltaire [sic]

   seemed the perfect match”, so she approached the ZV Defendants about working together.

   A true and correct copy of an article from W Magazine dated February 17, 2018 found at

   https://www.wmagazine.com/story/micol-sabbadini-zadig-voltaire-t-shirts (last accessed

   on July 1, 2023), is attached hereto as Exhibit 10.

44. Cecilia Bonstrom, Zadig & Voltaire’s Artistic Director, agreed to partner with Defendant

   Sabbadini and together they announced the “Zadig & Voltaire X Micol Sabbadini”

   Collaboration (the “Collaboration”) at the close of the Zadig & Voltaire New York Fashion
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   Week - Spring 2018 runway show. A true and correct copy of the article by Vogue France

   dated February 12, 2018 found at https://www.vogue.fr/fashion/fashion-news/articles/-

   zadig-/60320 (last accessed on July 1, 2023), is attached hereto as Exhibit 11.

45. The Collaboration consists of three images printed on short-sleeved, white cotton t-shirts

   with a rounded neckline. The t-shirts are individually silk-screened on the front with an

   image of a “Polaroid” picture purportedly taken by Defendant Sabbadini at the 2017

   Women’s March. A true and correct copy of a photograph of Defendant Sabbadini wearing

   a Collaboration t-shirt from her website found at https://micolsabbadini.com/capsule-

   collections/zadig-et-voltaire/ (last accessed July 1, 2023) is below, and attached hereto as

   Exhibit 12.




46. The back of the Collaboration t-shirts were printed with the following: “Zadig & Voltaire.

   Fashion Show. 12 Feb. 18/NYC”. A true and correct screenshot of a picture depicting the

   back          of        the         Collaboration          t-shirts        found          at
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   https://shoppremiumoutlets.com/products/zadig-voltaire-x-micol-sabbadini-t-shirt        (last

   accessed July 1, 2023) is included below, and attached hereto as Exhibit 13.




47. The February 12, 2018, date printed on the back of the Collaboration t-shirts references the

   date of the Zadig & Voltaire NY Fashion Week show where the Collaboration was

   announced by Defendant Sabbadini and the ZV Defendants. See Exhibit 11.

48. The ZV Defendants identified and distinguished the Collaboration t-shirts by the message

   in each picture: “Girls just wanna have FUN-damental Human Rights”, “Give us Hope”,

   and Plaintiff’s Work “Love will Rise Above All.” True and correct copies of the three t-

   shirts in the Collaboration found at https://micolsabbadini.com/capsule-collections/zadig-

   et-   voltaire/ (last accessed July 1, 2023) are below, and included in Exhibit 12.
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49. As part of the Collaboration’s launch, the Zadig & Voltaire runway models and other

   attending celebrities were made to and/or invited by the ZV Defendants to wear the

   Collaboration t-shirts and pose for the press alongside Mrs. Bonstrom and Defendant

   Sabbadini. A true and correct copy of a photograph of Z&V models at the Collaboration

   launch found at https://www.maxima.pt/moda/detalhe/a-zadig--voltaire-junta-se-a-micol-

   sabbadini-para-uma-colecao-solidaria (last accessed on July 1, 2023), is included below,

   and attached hereto as Exhibit 14.




50. The NY fashion week announcement kicked-off a global publicity campaign to promote

   the Collaboration paid by the ZV Defendants.

51. Defendant Sabbadini and the ZV Defendants promoted the Collaboration via their

   websites, social media channels, and through various other forms of advertising as an

   awareness-raising campaign to bring attention to what Defendant Sabbadini called the

   “deep seated disparity between the sexes” that still exists today. See Exhibit 11.

52. Defendant Sabbadini and representatives from ZV NY and ZV France attended countless

   events, interviews, and photoshoots to promote the Collaboration.

53. The Collaboration was universally applauded as ground-breaking, timely and courageous.
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54. Press articles regarding the Collaboration often included pictures of Defendant Sabbadini

   and celebrities wearing t-shirts from the Collaboration such as model Hailey Bieber. A true

   and correct copy of a picture of Hailey Bieber wearing a Collaboration t-shirt found at

   https://www.harpersbazaar.com/es/moda/noticias-moda/a17809152/camiseta-feminista-

   zadig-and-voltaire-micol-sabbadini/ (last accessed on July 1, 2023) is below, and attached

   hereto as Exhibit 15.




55. From February of 2018 to the present, either directly or via contractual agreements with

   the Doe Defendants, Defendant Sabbadini and the ZV Defendants designed, imported,

   manufactured, and offered for purchase the Collaboration t-shirts at a retail price of

   $118.00 USD each. See Exhibit 13.

                               The Infringing Polaroid

56. In dozens of interviews about the Collaboration with national and international

   publications, Defendant Sabbadini claimed the images featured in the Collaboration were

   Polaroid photographs taken at the Women’s March – this is false. See Exhibit 10.
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57. Defendant Sabbadini, either acting alone or in concert with the ZV Defendants, digitally

   cut the Lovelace “Strong Women” quote out of the Participant Photograph, and replaced it

   with a copy of Plaintiff’s “Love Will Rise Above All” artwork – the result is an image that

   presents like a Polaroid photograph (the “Fake Polaroid”) but is actually just a copy. A true

   and correct screenshot of the Fake Polaroid found at http://micolsabbadini.com/capsule-

   collections/zadig-et-voltaire/ (last accessed July 1, 2023) is included below, and attached

   hereto as Exhibit 16, and also as Exhibit 12.




58. Defendant Sabbadini’s oft-repeated claim that the Collaboration images were Polaroids is

   and has always been both false and intentionally deceitful because she created the Fake

   Polaroid by copying Plaintiff’s “Love Will Rise Above All” Work.

59. Defendant Sabbadini copied Plaintiff’s Work precisely because it is a powerful and original

   work of art that represents the spirit and idea of the Women’s March.

60. The ZV Defendants knew that Plaintiff’s Work was original and unique, and either assisted

   or directed Defendant Sabbadini to copy Plaintiff’s “Love Will Rise Above All” Work so

   they could use it in the Collaboration.
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61. Acting in concert, Defendant Sabbadini and the ZV Defendants manufactured a fake origin

   story for the Collaboration images to avoid liability for their infringement and to drive sales

   and profits.

62. In fact, Defendant Sabbadini’s professional website still describes the three images in the

   Collaboration as “vintage polaroid” shots and “candid sepia photographs … taken during

   the 2017 Women’s March in New York City.” See Exhibit 12.

63. The ZV Defendants uploaded to the Z&V website, and sold, fulfilled, and shipped

   customer orders for t-shirts with the Fake Polaroid to consumers in North America, Europe,

   and Asia.

64. The ZV Defendants spent large sums of money promoting the Collaboration by, among

   other examples, merchandizing Zadig & Voltaire retail stores in the U.S. and abroad,

   producing large-scale prints of the Fake Polaroid to be displayed in the Zadig & Voltaire

   brick-and-mortar stores, sending complimentary Collaboration t-shirts with the Fake

   Polaroid to celebrities and influential fashion editors, and paying for Defendant Sabbadini

   to attend various Collaboration related promotional events in New York.

65. The ZV Defendants organized promotional pop-up events across the globe, including at

   the Zadig & Voltaire Paris headquarters, to promote the Collaboration.

66. The events hosted by the ZV Defendants to promote the Collaboration were decorated with

   custom pink metal crowd-control barricades and stylized protest signs – an aesthetic

   designed to invoke the Women’s March. A true and correct copy of a photo featured in I.T.

   News China & Hong Kong found at https://www.ithk.com/eng/html/news/279-ZADIG-

   amp-VOLTAIRE-CHARITY-T-SHIRT-PHOTOGRAPHY-POP-UP-LAUNCH-EVENT

   (last accessed on July 1, 2023) is included below, and attached hereto as Exhibit 17.
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67. Defendant Sabbadini and the ZV Defendants have claimed that all profits from the

   Collaboration would be donated to Christy Turlington’s non-for-profit charity Every

   Mother Counts. See Exhibit 10.

68. Plaintiff has been unable to locate any information indicating that such a donation was ever

   made to any charity organization.

                     Plaintiff Carrillo Discovers the Infringement

69. Despite the extensive fashion press coverage and publicity surrounding the Collaboration,

   Plaintiff Carrillo did not learn of the Fake Polaroid until 2020.

70. On July 4, 2020, Plaintiff watched a video documentary produced by National Public

   Radio’s (“NPR”) on abolitionist Frederick Douglass. The documentary can be found on

   NPR’s website at https://www.npr.org/2020/07/03/884832594/video-frederick-douglass-

   descendants-read-his-fourth-of-july-speech (last accessed on June 25, 2023), and is

   attached hereto as Exhibit 18.

71. The NPR documentary features five young descendants of abolitionist leader Frederick

   Douglass reading excerpts from his “What, To the Slave, Is the Fourth of July?” speech.

   See Exhibit 18.
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72. To Plaintiff Carrillo’s shock, the documentary featured Alexa Anne Watson, Douglass’s

   great-great-granddaughter, wearing a Collaboration t-shirt printed with the Fake Polaroid.

   A true and correct copy of a screen shot of the documentary is included below and in

   Exhibit 18.




73. Plaintiff Carrillo’s position evolved from gratitude that her message had reached Ms.

   Watson, to confusion as to how her artwork had come to be printed on a t-shirt.

74. Plaintiff reviewed hundreds of images of the Women’s March and any article she could

   find regarding the Collaboration, but she remained unclear as to how, or when, Defendant

   Sabbadini took a Polaroid picture of another march participant holding her Work.

75. Plaintiff was particularly confused by Defendant Sabbadini’s well-publicized claim that

   the images featured in the Collaboration were “candid” Polaroid pictures because Plaintiff

   did not share the Work with anyone else at the Women’s March.

76. Defendant Sabbadini and the ZV Defendant’s false narrative that the Collaboration images

   captured candid moments caused the Plaintiff great confusion that turned into frustration

   that her work had been coopted and commodified by the Defendants.
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77. Plaintiff was so greatly affected by the dissonance caused by these two seemingly

   irreconcilable truths that she stopped painting in the style of the Work and stopped creating

   artwork related to social causes fearing her work would be stolen again.

78. On January 20th, 2021, after battling months of crippling self-doubt, Plaintiff gathered

   herself and bravely messaged Defendant Sabbadini via Instagram to Defendant Sabbadini’s

   publicly verified profile with a username of @micolsabbadini.

79. In the message to Defendant Sabbadini, Plaintiff identified herself as the artist behind the

   Work. A true and correct copy of the Instagram messages from Plaintiff to Defendant

   Sabbadini are attached hereto as Exhibit 19.

80. Plaintiff included a picture of herself holding the Work at the Women’s March, eagerly

   shared how she came to learn of the Collaboration and ended the message with words of

   gratitude. See Exhibit 19.

81. To date, Defendant Sabbadini has not responded to Plaintiff Carrillo’s Instagram message.

82. In November of 2022, almost two years after Plaintiff learned of the Fake Polaroid and the

   Collaboration, Plaintiff encountered a web-ad from a third-party site offering ceramic mugs

   with an image of her “Love Will Rise Above All” Work on it.

83. In November of 2022, Plaintiff conducted a reverse Google image search of the Fake

   Polaroid and discovered the Participant Picture in the Vogue Italia op-ed covering

   Defendant Sabbadini’s exhibit at the Triennale Museum. See Exhibit 9.
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84. Finally able to compare the Participant Picture to the Fake Polaroid, Plaintiff confirmed

   the suspicion that Defendant Sabbadini had copied her Work. Copies of the Work, the

   Participant Picture and the Fake Polaroid are set out below for illustrative purposes, and

   included as Exhibits 4, 9 and 16.




                                 Plaintiff’s Cease and Desist

85. Plaintiff Carrillo’s “Love Will Rise Above All” Work is a unique artistic expression in that

   it is original and therefore protected by copyright from the time of its creation in a fixed

   and tangible form.

86. On November 7, 2022, Plaintiff applied for copyright registration from the United States

   Copyright Office for the “Love Will Rise Above All” Work. A true and correct copy of

   Plaintiff Copyright Certification is attached hereto as Exhibit 20.

87. Also on November 7, 2022, Plaintiff Carrillo, through undersigned counsel, notified

   Defendant Sabbadini in writing that the “Love Will Rise Above All” work was used without

   permission and in violation of Plaintiff’s copyright.
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88. Plaintiff Carrillo further demanded that Defendant Sabbadini immediately cease and desist

   all infringing use of the Work and refrain from engaging in any further violations of

   Plaintiff’s Copyright.

89. On November 7, 2022, Plaintiff Carrillo, through undersigned counsel, notified Defendant

   ZV NY and ZV France, separately and in writing, that the “Love Will Rise Above All” Work

   was used without Plaintiff’s permission and further, that their continued use of Defendant

   Sabbadini’s copy was in violation of Plaintiff’s copyright in the Work.

90. Plaintiff’s letter further demanded that the ZV Defendants immediately cease and desist

   from any and all infringing use of the Work and refrain from engaging in any further

   violations of Plaintiff’s copyright.

91. In November of 2022, Plaintiff obtained confirmation that the cease and desist letters sent

   to Defendant Sabbadini and the ZV Defendants were received and acknowledged.

92. On December 4, 2022, the United States Copyright Office granted Plaintiff Carrillo’s

   application and recorded the artwork under Registration Number VA-2-331-135 (the

   “Copyright”). See Exhibit 20.

93. Plaintiff repeatedly tried to engage Defendant Sabbadini and the ZV Defendants by inviting

   them to participate in informal and confidential discussions regarding their infringement,

   but Plaintiff’s offers were ignored and/or rebuffed.

94. Defendant Sabbadini in particular has repeatedly avoided or delayed communicating with

   Plaintiff by claiming she was either busy traveling, just busy, or in the process of finding

   legal counsel with experience in intellectual property matters.
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95. Defendant Sabbadini and the ZV Defendants exploited Plaintiff’s willingness to discuss

   their infringement in private by repeatedly demonstrating interest only to avoid further

   communications for up to three months at a time.

96. To date, all of Plaintiff’s offers to discuss the matter of the Copyright infringement with

   Defendant Sabbadini and the ZV Defendants have been unsuccessful and they have

   continued to ignore Plaintiff’s request that they cease and desist from any further

   infringement of Plaintiff’s Copyright.

97. As of June 26, 2023, Defendant Sabbadini continues to willfully, intentionally and in bad

   faith, violate Plaintiff’s Copyright.

98. As of June 26, 2023, the ZV Defendants continue to willfully, intentionally and in bad faith

   infringe on Plaintiff’s Copyright.

99. Defendant Sabbadini’s infringement is ongoing and certainly involves additional acts of

   copyright infringement which Plaintiff has not yet uncovered.

100.       The ZV Defendants’ infringing actions are ongoing and certainly involve additional

   acts of copyright infringement which Plaintiff has not yet uncovered.

101.       Upon information and belief, the Doe Defendants have infringed on Plaintiff’s

   Copyright by distributing, displaying, or offering the Collaboration t-shirt printed with the

   Fake Polaroid for sale to consumers in the USA and abroad. See Exhibit 13.

102.       The Doe Defendants’ infringing actions are ongoing and certainly involve

   additional acts of copyright infringement which Plaintiff has not yet uncovered.

103.       Plaintiff registered the Work pursuant to 17 US.C. § 411(a). See Exhibit 20.
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104.       Plaintiff Carrillo is the sole author and exclusive rights holder of the original

   creative work of art “Love Will Rise Above All”, recorded under Registration Number VA-

   2-331-135.

105.       Plaintiff Carrillo is the sole owner of all rights, title, and interest in the copyrighted

   Work, and at all relevant times held exclusive rights to reproduce, distribute, display, and

   make derivative works of the copyrighted Work that is the subject of Copyright No VA-2-

   331-135.

106.       As a direct result of the Defendants’ conduct, Plaintiff Carrillo has suffered and

   continues to suffer monetary and non-monetary damages, which can only be adequately

   redressed through injunctive relief.

107.       All conditions precedent to this action have been performed or have been waived.


 COUNT I - CLAIM FOR RELIEF AGAINST DEFENDANT SABBADINI FOR
         COPYRIGHT INFRINGEMENT (17 U.S.C. §§ 101 et seq.)

108.       Plaintiff Carrillo repeats and re-alleges each and every allegation set forth above

   and incorporates them herein by reference.

109.       Plaintiff’s copyrighted Work is an original work of art and Plaintiff has a valid

   copyright registration from the United States Copyright Office with an effective date of

   December 4, 2022.

110.       Plaintiff Carrillo has at no time consented, authorized, permitted, or allowed

   Defendant Sabbadini to copy her Work.

111.       Defendant Sabbadini knowingly and intentionally copied, created derivative works

   from, distributed, and displayed a copy of Plaintiff’s “Love Will Rise Above All” Work

   without Plaintiff’s authorization in direct violation of the Copyright Act, 17 U.S.C. § 106.
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112.       Defendant Sabbadini intentionally described the Fake Polaroid used in the

   Collaboration as a “candid” photograph in order to avoid liability under the Copyright Act.

113.       Defendant Sabbadini copied Plaintiff’s Work for a commercial purpose.

114.       Defendant Sabbadini’s Fake Polaroid image is neither original nor unique in that it

   is a copy of Plaintiff’s “Love Will Rise Above All” Work.

115.       Defendant Sabbadini’s infringement is particularly egregious in that she

   intentionally and willfully lied to cover-up her illegal act so she could dupe the public into

   believing she was advocating in support of women’s rights.

116.       Defendant Sabbadini has obtained personal gains, profit and enjoyed many other

   advantages as a result of her wrongful and illegal actions.

117.       As of June 26, 2023, Defendant Sabbadini continues to take credit for, use and

   display the Fake Polaroid on her website despite knowing that Plaintiff Carrillo has a

   Copyright in the Work, which rises to intentional and willful infringement.

118.       Defendant Sabbadini has willfully ignored Plaintiff’s multiple requests that she

   cease and desist from further infringing Plaintiff’s Copyright.

119.       Defendant Sabbadini’s past and ongoing infringement is willful, executed with full

   knowledge of Plaintiff's Copyright, and in conscious disregard of Plaintiff's exclusive

   rights in the “Love Will Rise Above All” Work

120.       Defendant Sabbadini’s infringement is causing irreparable harm to Plaintiff

   Carrillo.

121.       As a direct result of Defendant Sabbadini’s infringement, Plaintiff has sustained

   and will continue to sustain substantial injury, loss, and damage to her ownership rights

   in the copyrighted Work.
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122.       Defendant Sabbadini’s actions have caused Plaintiff Carrillo great financial harm

   by depriving her of the right to receive compensation for the Work she created.

123.       Defendant Sabbadini has caused Plaintiff Carrillo to suffer damages by depriving

   her of the legal right to control how, when, and where, her artwork is displayed, licensed,

   and/or published.

124.       Defendant Sabbadini used, published, communicated, posted, publicized, and

   otherwise held out to the public for commercial benefit the Work without Plaintiff

   Carrillo’s consent or authority.

125.       Plaintiff Carrillo seeks injunctive relief to prevent or restrain infringement of her

   copyright pursuant to 17 U.S.C. § 502.

126.       Defendant Sabbadini must be enjoined from continuing the infringement or it is

   highly probable that Defendant Sabbadini will cause further irreparable harm to Plaintiff

   Carrillo.

127.       Discovery is necessary to uncover the full nature and extent of Defendant

   Sabbadini’s infringement of Plaintiff’s copyright in the Work.

128.       Plaintiff is entitled to recover from Defendant Sabbadini the gains, profits, and

   advantages she has obtained as a result of the copyright infringement.

129.       As a result of the Defendant Sabbadini’s past and continued violations of Title 17

   of the United States Code, Plaintiff Carrillo is entitled to the remedies set forth at 17 U.S.C.

   §§ 502-503, any actual damages pursuant to 17 U.S.C. §504(b), and/or statutory damages

   in an amount up to $150,000.00 pursuant to 17 U.S.C. § 504(c).
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130.       As a result of Defendant Sabbadini’s violations of Title 17 of the United States

   Code, the court in its discretion may allow the recovery of full costs as well as reasonable

   attorney’s fees and costs pursuant to 17 U.S.C § 505 from Defendant Sabbadini.

             COUNT II - CLAIM FOR RELIEF AGAINST ZV NY FOR
              COPYRIGHT INFRINGEMENT (17 U.S.C. §§ 106, 501)

131.       Plaintiff Carrillo repeats and re-alleges each and every allegation set forth above

   and incorporates them herein by reference.

132.       Plaintiff’s copyrighted Work is an original work of art and Plaintiff has a valid

   copyright registration from the United States Copyright Office with an effective date of

   December 4, 2022.

133.       Plaintiff Carrillo has at no time consented, authorized, permitted, or allowed

   Defendant ZV NY to copy her Work.

134.       Defendant ZV NY knowingly and intentionally copied, created derivative works

   from, distributed, and displayed a copy of Plaintiff’s “Love Will Rise Above All” Work

   without Plaintiff’s authorization in direct violation of the Copyright Act, 17 U.S.C. § 106.

135.       ZV NY either willfully ignored the overwhelming evidence that Defendant

   Sabbadini’s images (including the Fake Polaroid) were not candid photographs, or it

   directed or assisted Defendant Sabbadini in infringing the Plaintiff’s copyright in the “Love

   Will Rise Above All” Work.

136.       Defendant ZV NY copied Plaintiff’s Work for a commercial purpose.

137.       Defendant ZV NY has obtained commercial gains, profit and enjoyed many other

   advantages as a result of its wrongful and illegal acts.

138.       In addition to benefiting from the free publicity and immense goodwill the press

   coverage of the Collaboration generated, Defendant ZV NY profited by selling
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   Collaboration t-shirts via the Zadig & Voltaire e-commerce website(s) and in Zadig &

   Voltaire brick-and-mortar retail stores (including its New York City stores).

139.       Defendant ZV NY knows that Plaintiff has a Copyright in the Work yet continues

   to use and display the Fake Polaroid on its website, which constitutes intentional and willful

   infringement.

140.       Defendant ZV NY has willfully ignored Plaintiff’s multiple requests that it cease

   and desist from further infringing Plaintiff’s Copyright.

141.       Defendant ZV NY’s past and ongoing infringement is willful, executed with full

   knowledge of Plaintiff's Copyright, and in conscious disregard of Plaintiff's exclusive

   rights in the “Love Will Rise Above All” Work

142.       Defendant ZV NY’s infringement is causing irreparable harm to Plaintiff Carrillo.

143.       As a direct result of Defendant ZV NY’s infringement, Plaintiff has sustained and

   will continue to sustain substantial injury, loss, and damage to her ownership rights in the

   copyrighted Work.

144.       Defendant ZV NY’s actions have caused Plaintiff Carrillo great financial harm by

   depriving her of the right to receive compensation for the Work she created.

145.       Defendant ZV NY has caused Plaintiff Carrillo to suffer damages by depriving her

   of the legal right to control how, when, and where, her artwork is displayed, licensed,

   and/or published.

146.       Defendant ZV NY used, published, communicated, posted, publicized, and

   otherwise held out to the public for commercial benefit the Work without Plaintiff

   Carrillo’s consent or authority.
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147.       Plaintiff Carrillo seeks injunctive relief against Defendant ZV NY to prevent or

   restrain infringement of her copyright pursuant to 17 U.S.C. § 502.

148.       Defendant ZV NY must be enjoined from continuing the infringement or it is highly

   probable that Defendant ZV NY will cause further irreparable harm to Plaintiff Carrillo.

149.       Discovery is necessary to uncover the full nature and extent of Defendant ZV NY’s

   infringement of Plaintiff’s copyright in the Work.

150.       Plaintiff is entitled to recover from Defendant ZV NY the gains, profits, and

   advantages it has obtained as a result of the Copyright infringement.

151.       As a result of the Defendant ZV NY’s past and continued violations of Title 17 of

   the United States Code, Plaintiff Carrillo is entitled to the remedies set forth at 17 U.S.C.

   §§ 502-503, any actual damages pursuant to 17 U.S.C. §504(b), and/or statutory damages

   in an amount up to $150,000.00 pursuant to 17 U.S.C. § 504(c).

152.       As a result of Defendant ZV NY’s violations of Title 17 of the United States Code,

   the court in its discretion may allow the recovery of full costs as well as reasonable

   attorney’s fees and costs pursuant to 17 U.S.C § 505 from ZV NY.

         COUNT III - CLAIM FOR RELIEF AGAINST ZV FRANCE FOR
            COPYRIGHT INFRINGEMENT (17 U.S.C. §§ 106, 501)

153.       Plaintiff Carrillo repeats and re-alleges each and every allegation set forth above

   and incorporates them herein by reference.

154.       Plaintiff’s copyrighted Work is an original work of art and Plaintiff has a valid

   copyright registration from the United States Copyright Office with an effective date of

   December 4, 2022.

155.       Plaintiff Carrillo has at no time consented, authorized, permitted, or allowed

   Defendant ZV France to copy her Work.
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156.       Defendant ZV France knowingly and intentionally copied, created derivative works

   from, distributed, and displayed a copy of Plaintiff’s “Love Will Rise Above All” Work

   without Plaintiff’s authorization in direct violation of the Copyright Act, 17 U.S.C. § 106.

157.       Cecilia Bonstrom, Zadig & Voltaire’s Artistic Director, acting in her capacity as an

   officer of ZV France, either willfully ignored the overwhelming evidence that the Fake

   Polaroid was not a candid photograph, or she directed or assisted Defendant Sabbadini to

   infringe the Plaintiff’s Copyright in the “Love Will Rise Above All” Work.

158.       ZV France intentionally misrepresented the source of the Fake Polaroid and instead

   repeated the claim that the images in the Collaboration were candid photographs in order

   to avoid liability under the Copyright Act.

159.       Defendant ZV France copied Plaintiff’s Work for a commercial purpose.

160.       Defendant ZV France has obtained commercial gains, profit and enjoyed many

   other advantages as a result of its wrongful and illegal acts.

161.       In addition to benefiting from the free publicity and immense goodwill the press

   coverage of the Collaboration generated, Defendant ZV France profited by selling

   Collaboration t-shirts via the Zadig & Voltaire e-commerce website(s) and in Zadig &

   Voltaire brick-and-mortar retail stores (including the brands’ New York City stores).

162.       Defendant ZV France knows that Plaintiff has a Copyright in the Work, yet

   continues to use and display the Fake Polaroid on its website, which constitutes intentional

   and willful infringement.

163.       Defendant ZV France has willfully ignored Plaintiff’s multiple requests that it cease

   and desist from further infringing Plaintiff’s Copyright.
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164.       Defendant ZV France’s past and ongoing infringement is willful, executed with full

   knowledge of Plaintiff's Copyright, and in conscious disregard of Plaintiff's exclusive

   rights in the “Love Will Rise Above All” Work.

165.       Defendant ZV France’s infringement is causing irreparable harm to Plaintiff

   Carrillo.

166.       As a direct result of Defendant ZV France’s infringement, Plaintiff has sustained

   and will continue to sustain substantial injury, loss, and damage to her ownership rights

   in the copyrighted Work.

167.       Defendant ZV France’s actions have caused Plaintiff Carrillo great financial harm

   by depriving her of the right to receive compensation for the Work she created.

168.       Defendant ZV France has caused Plaintiff Carrillo to suffer damages by depriving

   her of the legal right to control how, when, and where, her artwork is displayed, licensed,

   and/or published.

169.       Defendant ZV France used, published, communicated, posted, publicized, and

   otherwise held out to the public for commercial benefit the Work without Plaintiff

   Carrillo’s consent or authority.

170.       Defendant ZV France’s intentionally and willfully infringement is particularly

   egregious in that the infringing image was used to dupe the public into believing that Zadig

   & Voltaire is a brand that supports social equality causes.

171.       Plaintiff Carrillo seeks injunctive relief against Defendant ZV France to prevent or

   restrain infringement of her copyright pursuant to 17 U.S.C. § 502.
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172.       Defendant ZV France must be enjoined from continuing the infringement or it is

   highly probable that Defendant ZV France will cause further irreparable harm to Plaintiff

   Carrillo.

173.       Discovery is necessary to uncover the full nature and extent of Defendant ZV

   France’s infringement of Plaintiff’s copyright in the Work.

174.       Plaintiff is entitled to recover from Defendant ZV France the gains, profits, and

   advantages it has obtained as a result of the copyright infringement.

175.       As a result of the Defendant ZV France’s past and continued violations of Title 17

   of the United States Code, Plaintiff Carrillo is entitled to the remedies set forth at 17 U.S.C.

   §§ 502-503, any actual damages pursuant to 17 U.S.C. §504(b), and/or statutory damages

   in an amount up to $150,000.00 pursuant to 17 U.S.C. § 504(c).

176.       As a result of Defendant ZV France’s violations of Title 17 of the United States

   Code, the court in its discretion may allow the recovery of full costs as well as reasonable

   attorney’s fees and costs pursuant to 17 U.S.C § 505 from ZV France.

               COUNT IV - RELIEF AGAINST THE DOE DEFENDANTS FOR
                  COPYRIGHT INFRINGEMENT (17 U.S.C. §§ 106, 501)

177.       Plaintiff Carrillo repeats and re-alleges each and every allegation set forth above

   and incorporates them herein by reference.

178.       Plaintiff’s copyrighted Work is an original work of art and Plaintiff has a valid

   copyright registration from the United States Copyright Office with an effective date of

   December 4, 2022.

179.       Plaintiff Carrillo has at no time consented, authorized, permitted, or allowed the

   Doe Defendant to copy her Work.
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180.         The Doe Defendants are believed to have created derivative works from,

   distributed, and displayed a copy of Plaintiff’s “Love Will Rise Above All” Work in

   violation of the Copyright Act, 17 U.S.C. § 106.

181.         The Doe Defendants infringed on Plaintiff’s Copyright by offering the

   Collaboration t-shirt printed with the Fake Polaroid for sale to consumers in the USA and

   abroad.

182.         The Doe Defendants copied Plaintiff’s Work for a commercial purpose.

183.         The Doe Defendants have obtained commercial gains, profit and enjoyed many

   other advantages as a result of their wrongful and illegal acts.

184.         As a direct result of the Doe Defendants’ infringement, Plaintiff has sustained and

   will continue to sustain substantial injury, loss, and damage to her ownership rights in the

   copyrighted Work.

185.         The Doe Defendants actions have caused Plaintiff Carrillo great financial harm by

   depriving her of the right to receive compensation for the Work she created.

186.         The Doe Defendants have caused Plaintiff Carrillo to suffer damages by depriving

   her of the legal right to control how, when, and where, her artwork is displayed, licensed,

   and/or published.

187.         The Doe Defendants used, published, communicated, posted, publicized, and

   otherwise held out to the public for commercial benefit the Work without Plaintiff

   Carrillo’s consent or authority.

188.         Discovery is necessary to uncover the full nature and extent of the Doe Defendants’

   infringement of Plaintiff’s copyright in the Work.
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   189.        Plaintiff Carrillo will seek injunctive relief against the Doe Defendants when their

       identities are ascertained in the course of discovery.

   190.        Plaintiff is entitled to recover from the Doe Defendants the gains, profits, and

       advantages they have obtained as a result of the copyright infringement.

   191.        As a result of the Doe Defendants past and continued violations of Title 17 of the

       United States Code, Plaintiff Carrillo is entitled to the remedies set forth at 17 U.S.C. §§

       502-503, any actual damages pursuant to 17 U.S.C. §504(b), and/or statutory damages in

       an amount up to $150,000.00 pursuant to 17 U.S.C. § 504(c).

   192.        As a result of the Doe Defendants’ violations of Title 17 of the United States Code,

       the court in its discretion may allow the recovery of full costs as well as reasonable

       attorney’s fees and costs pursuant to 17 U.S.C § 505 from the Doe Defendants.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Carrillo respectfully demands judgment against Defendants as

follows:

       A. That an injunction be issued enjoining and restraining Defendants and all persons

            acting in concert with Defendants from:

               a. infringing Plaintiff Cristina Carrillo’s copyrighted Work;

               b. manufacturing, reproducing, distributing, creating derivative works, displaying,

                   advertising, promoting, offering for sale and/or selling, any items in violation

                   of Plaintiff’s Copyright in the Work;

       B. An Order directing Defendants Sabbadini, ZV NY, ZV France, and the Doe Defendants

            to destroy and certify to the Court such destruction or deliver to the Court for

            destruction or other reasonable disposition all items or materials, and means for
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   producing any such items or materials, in Defendant's possession or control which

   violates Plaintiff Carrillo’s Copyright in the Work;

C. That Defendants Sabbadini, ZV NY, ZV France, and the Doe Defendants be ordered

   to remove and/or take down all social media and internet content under their control

   which use the Work.

D. That Defendants Sabbadini, ZV NY, ZV France, and the Doe Defendants be adjudged

   to have infringed Plaintiff’s copyright in the Work in violation of 17 U.S.C. § 106 and

   501;

E. That Defendants Sabbadini, ZV NY, ZV France, and the Doe Defendants be adjudged

   to have committed copyright infringement willfully, intentionally, and purposefully, in

   disregard of and with reckless indifference to Plaintiff Carrillo’s rights.

F. Awarding Plaintiff Carrillo actual damages and Defendants’ profits attributable to the

   infringement of Plaintiff’s Copyrighted Work pursuant to 17 U.S.C. § 504(b), or in lieu

   of such damages and profits, awarding Plaintiff Carrillo statutory damages up to

   $150,000 for Defendants’ infringement of the Copyrighted Work that is eligible for

   statutory damages under17 U.S.C. § 504(c);

G. Awarding Plaintiff Carrillo punitive damages, Defendants’ profits and/or any actual

   damages sustained by Plaintiff Carrillo to be determined at trial, arising out of

   Defendants’ acts of knowing and willful copyright violation;

H. Awarding Plaintiff interest, including pre-judgment interest, on the foregoing sums;

I. Awarding Plaintiff her costs in this civil action, including reasonable attorneys’ fees

   and costs, pursuant to 15 U.S.C. § 1117(a) and 17 U.S.C. § 505;
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        J. Directing that Defendants file with the Court and serve upon Plaintiff’s counsel within

                thirty (30) days after entry of judgment a report in writing under oath setting forth in

                detail the manner and form in which they have complied with the above; and

        K. Awarding Plaintiff Carrillo such other and further relief as the Court may deem just

                and proper.

                                     DEMAND FOR JURY TRIAL


        Plaintiff Carrillo hereby demands a trial by jury on all claims for which there is a right to

a jury trial.



Dated: July 1, 2023.

                                                          EmClara LLC

                                                          By: /s/ Melissa A. Bright
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